       2:17-cv-12818-VAR-APP          Doc # 1     Filed 08/25/17    Pg 1 of 13   Pg ID 1



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                               DETROIT DIVISION

RHONDA LEGGETT-MELTON,       )
On behalf of herself and all others
                             )
similarly situated,          )                      2:17-cv-12818
                             )
              Plaintiff,     )
                             )
     v.                      )                      JURY TRIAL DEMANDED
                             )
QUICKENS LOANS, INCORPORATED )
                             )
              Defendant.     )


                              CLASS ACTION COMPLAINT

       NOW COMES the Plaintiff, RHONDA LEGGETT-MELTON, by and through her

attorneys, SMITHMARCO, P.C., suing on behalf of herself and all other similarly situated, and

for her complaint against QUICKENS LOANS, INCORPORATED Plaintiff states as follows:

                              I.      PRELIMINARY STATEMENT

       1.     This is an action for actual and statutory damages for violations of the Equal

Credit Opportunity Act (“ECOA”), 15 U.S.C. §1691, et seq. and the Fair Credit Reporting Act

(hereinafter “FCRA”), 15 U.S.C. §1681, et. seq.

                               II.     JURISDICTION & VENUE

       2.     Jurisdiction arises under the ECOA, 15 U.S.C. §1691e(f) and FCRA 15 U.S.C.

§1681, et. seq., and pursuant to 28 U.S.C. §1331 and 28 U.S.C. §1337.

       3.     Venue is proper in this district pursuant to 28 U.S.C. §1391(b).




                                                1
       2:17-cv-12818-VAR-APP             Doc # 1   Filed 08/25/17   Pg 2 of 13   Pg ID 2



                                           III.    PARTIES

       4.      RHONDA LEGGETT-MELTON, (hereinafter, “Plaintiff”) is an individual who

was at all relevant times residing in the City of Vanceboro, County of Craven, State of North

Carolina.

       5.      At all relevant times, Plaintiff was a “consumer” as that term is defined by 15

U.S.C. §1681a(c).

       6.      QUICKENS LOANS, INCORPORATED (hereinafter, “Defendant”), is a

business entity that has its headquarters and a principal place of business Michigan and is

incorporated in the state of Michigan.

       7.      At all relevant times Defendant was a “person” as that term is defined by 15

U.S.C. §1681a(b).

       8.      At all relevant times Defendant was a “consumer reporting agency” as that term is

defined by 15 U.S.C. §1681a(f).

       9.      At all relevant times, Plaintiff was an “applicant” as that term is defined by 15

U.S.C. §1691a(b).

       10.     At all relevant times, Defendant was a “creditor” as that term is defined by 15

U.S.C. §1691a(e).

                                           ALLEGATIONS

       11.     On or about February 22, 2017, Plaintiff initiated a telephone call to Defendant

and spoke with a duly authorized representative of Defendant.

       12.     During the course of her telephone call with Defendant on or about February 22,

2017, Plaintiff informed Defendant that she was seeking financing for a home loan. Defendant




                                                   2
          2:17-cv-12818-VAR-APP       Doc # 1    Filed 08/25/17     Pg 3 of 13    Pg ID 3



asked Plaintiff a series of questions so that an application could be submitted on Plaintiff’s

behalf.

          13.   As a part of the application process, Defendant required Plaintiff to authorize a

review of her consumer report as that term is defined by the Fair Credit Reporting Act

(“FCRA”), 15 U.S.C. §1681a(d).

          14.   On or about February 22, 2017, as part of its customary practice and course of

business in reviewing a consumer’s application for a home loan and her credit capacity and

credit worthiness, Defendant purchased a consumer report regarding Plaintiff from Equifax

Information Services (hereinafter, “Equifax”), a consumer reporting agency as that term is

defined by the FCRA, 15 U.S.C. §1681a(f).

          15.   On or about February 22, 2017, Defendant obtained Plaintiff’s Equifax credit

report through Equifax Mortgage Services.

          16.   Upon information and belief, Defendant reviewed Plaintiff’s credit report on or

about February 22, 2017.

          17.   During the course of Plaintiff’s telephone call with Defendant on or about

February 22, 2017, Defendant orally informed Plaintiff that she her application was rejected.

          18.   Defendant based its decision to deny Plaintiff’s application based in whole or in

part on the information it received and reviewed in Plaintiff’s consumer report from Equifax.

          19.   Defendant rejected Plaintiff’s application based upon information contained

within the report received from Equifax.




                                                3
       2:17-cv-12818-VAR-APP           Doc # 1     Filed 08/25/17     Pg 4 of 13     Pg ID 4



       20.     Subsequent to Plaintiff’s application to Defendant of February 22, 2017,

Defendant did not provide Plaintiff with:

               a.      A written statement of reason(s) for Defendant’s decision to deny
                       Plaintiff’s application for credit or written notification of adverse action
                       which discloses (i) Plaintiff’s right to a statement of reasons within thirty
                       days after receipt by Defendant of a request made within sixty days after
                       such notification, and (ii) the identity of the person or office from which
                       such statement may be obtained;

               b.      A numerical credit score, as defined in §1681g(f)(2)(A) of the FCRA;

               c.      The name, address, and telephone number of the consumer reporting
                       agency (including a toll-free telephone number established by the agency
                       if the agency compiles and maintains files on consumers on a nationwide
                       basis) that furnished the report to Defendant;

               d.      A statement that the consumer reporting agency did not make the decision
                       to take the adverse action and is unable to provide the consumer the
                       specific reasons why the adverse action was taken;

               e.      Notice of her right to obtain, under §1681j of the FCRA, a free copy of her
                       consumer report from the consumer reporting agency from which
                       Defendant obtained Plaintiff’s consumer report; or

               f.      Notice of her right to dispute, under §1681i of the FCRA, the accuracy or
                       completeness of any information in a consumer report furnished by the
                       consumer reporting agency to Defendant.

       21.     On or about June 1, 2017, Plaintiff initiated a telephone call to Defendant and

spoke with a duly authorized representative of Defendant.

       22.     During the course of her telephone call with Defendant on or about June 1, 2017,

Plaintiff informed Defendant that she was seeking financing for a home loan. Defendant asked

Plaintiff a series of questions so that an application could be submitted on Plaintiff’s behalf.

       23.     As a part of the application process, Defendant required Plaintiff to authorize a

review of her consumer report as that term is defined by the Fair Credit Reporting Act

(“FCRA”), 15 U.S.C. §1681a(d).




                                                  4
       2:17-cv-12818-VAR-APP          Doc # 1     Filed 08/25/17     Pg 5 of 13    Pg ID 5



       24.     On or about June 1, 2017, as part of its customary practice and course of business

in reviewing a consumer’s application for a home loan and her credit capacity and credit

worthiness, Defendant purchased a consumer report regarding Plaintiff from Equifax.

       25.     On or about June 1, 2017, Defendant obtained Plaintiff’s Equifax credit report

through Corelogic/Credco.

       26.     Upon information and belief, Defendant reviewed Plaintiff’s credit report on or

about June 1, 2017.

       27.     During the course of Plaintiff’s telephone call with Defendant on or about June 1,

2017, Defendant orally informed Plaintiff that she her application was rejected.

       28.     Defendant based its decision to deny Plaintiff’s application based in whole or in

part on the information it received and reviewed in Plaintiff’s consumer report from Equifax.

       29.     Defendant rejected Plaintiff’s application based upon information contained

within the report received from Equifax.

       30.     Subsequent to Plaintiff’s application to Defendant of June 1, 2017, Defendant did

not provide Plaintiff with:

               a.      A written statement of reason(s) for Defendant’s decision to deny
                       Plaintiff’s application for credit or written notification of adverse action
                       which discloses (i) Plaintiff’s right to a statement of reasons within thirty
                       days after receipt by Defendant of a request made within sixty days after
                       such notification, and (ii) the identity of the person or office from which
                       such statement may be obtained;

               b.      A numerical credit score, as defined in §1681g(f)(2)(A) of the FCRA;

               c.      The name, address, and telephone number of the consumer reporting
                       agency (including a toll-free telephone number established by the agency
                       if the agency compiles and maintains files on consumers on a nationwide
                       basis) that furnished the report to Defendant;




                                                 5
       2:17-cv-12818-VAR-APP          Doc # 1     Filed 08/25/17     Pg 6 of 13     Pg ID 6



               d.     A statement that the consumer reporting agency did not make the decision
                      to take the adverse action and is unable to provide the consumer the
                      specific reasons why the adverse action was taken;

               e.     Notice of her right to obtain, under §1681j of the FCRA, a free copy of her
                      consumer report from the consumer reporting agency from which
                      Defendant obtained Plaintiff’s consumer report; or

               f.     Notice of her right to dispute, under §1681i of the FCRA, the accuracy or
                      completeness of any information in a consumer report furnished by the
                      consumer reporting agency to Defendant.

       31.     Defendant’s rejection of Plaintiff’s applications constituted “adverse action” as

that term is defined by the ECOA, 15 U.S.C. §1691(d)(6).

       32.     Pursuant to section 1691(d) of the ECOA:

               (2) Each applicant against whom adverse action is taken shall be entitled to a
               statement of reasons for such action from the creditor. A creditor satisfies this
               obligation by—

                      (A) providing statements of reasons in writing as a matter of course to
                      applicants against whom adverse action is taken; or

                      (B) giving written notification of adverse action which discloses (i) the
                      applicant's right to a statement of reasons within thirty days after receipt
                      by the creditor of a request made within sixty days after such notification,
                      and (ii) the identity of the person or office from which such statement may
                      be obtained. Such statement may be given orally if the written notification
                      advises the applicant of his right to have the statement of reasons
                      confirmed in writing on written request.

               (3) A statement of reasons meets the requirements of this section only if it
               contains the specific reasons for the adverse action taken.

               15 U.S.C. § 1691(d)(2), (3).

       33.     Defendant violated the ECOA.          In taking adverse action against Plaintiff in

response to her application with Defendant, Defendant failed to: (i) provide Plaintiff with a

statement of reasons in writing for the adverse action taken; (b) provide written notification of

adverse action which disclosed to the Plaintiff her right to a statement of reasons for the adverse




                                                 6
       2:17-cv-12818-VAR-APP          Doc # 1    Filed 08/25/17     Pg 7 of 13    Pg ID 7



action within thirty days after receipt by Defendant of a request made within sixty days after the

notification of the denial of credit, and the identity of the person or office from which such

statement may be obtained; and, (c) provide the specific reasons for the adverse action taken.

       34.     Defendant’s rejection of Plaintiff’s applications constituted “adverse action” as

that term is defined by the FCRA

       35.     Pursuant to section 1681(m) of the FCRA:

               (a) Duties of users taking adverse actions on basis of information contained in
               consumer reports

               If any person takes any adverse action with respect to any consumer that is based
               in whole or in part on any information contained in a consumer report, the person
               shall--

                      (2) provide to the consumer written or electronic disclosure--

                              (A) of a numerical credit score as defined in section
                              1681g(f)(2)(A) of this title used by such person in taking any
                              adverse action based in whole or in part on any information in a
                              consumer report; and

                              (B) of the information set forth in subparagraphs (B) through (E)
                              of section 1681g(f)(1) of this title;
                      (3) provide to the consumer orally, in writing, or electronically--

                              (A) the name, address, and telephone number of the consumer
                              reporting agency (including a toll-free telephone number
                              established by the agency if the agency compiles and maintains
                              files on consumers on a nationwide basis) that furnished the report
                              to the person; and

                              (B) a statement that the consumer reporting agency did not make
                              the decision to take the adverse action and is unable to provide the
                              consumer the specific reasons why the adverse action was taken;
                              and

                      (4) provide to the consumer an oral, written, or electronic notice of the
                      consumer’s right--

                              (A) to obtain, under section 1681j of this title, a free copy of a
                              consumer report on the consumer from the consumer reporting



                                                7
       2:17-cv-12818-VAR-APP         Doc # 1     Filed 08/25/17     Pg 8 of 13    Pg ID 8



                             agency referred to in paragraph (3), which notice shall include an
                             indication of the 60-day period under that section for obtaining
                             such a copy; and

                             (B) to dispute, under section 1681i of this title, with a consumer
                             reporting agency the accuracy or completeness of any information
                             in a consumer report furnished by the agency.

                       15 U.S.C. § 1681m(a)

       36.    Defendant violated the FCRA.          In taking adverse action against Plaintiff in

response to her application with Defendant, Defendant failed to provide Plaintiff with: (i) A

numerical credit score; (ii) The name, address, and telephone number of the consumer reporting

agency (including a toll-free telephone number established by the agency if the agency compiles

and maintains files on consumers on a nationwide basis) that furnished the report to Defendant;

(iii) A statement that the consumer reporting agency did not make the decision to take the

adverse action and is unable to provide the consumer the specific reasons why the adverse action

was taken; (iv) Notice of her right to obtain, under §1681j of the FCRA, a free copy of her

consumer report from the consumer reporting agency from which Defendant obtained Plaintiff’s

consumer report; or, (v) Notice of her right to dispute, under §1681i of the FCRA, the accuracy

or completeness of any information in a consumer report furnished by the consumer reporting

agency to Defendant.

                               V.     CLASS ALLEGATIONS

       37.    Plaintiff brings this action individually and on behalf of a class of individuals

pursuant to Rule 23 of the Federal Rules of Civil Procedure.

       38.    The aforementioned class of individuals is defined as all persons for whom,

during the five (5) year period prior to the filing of this Complaint, Defendant obtained a




                                                8
       2:17-cv-12818-VAR-APP          Doc # 1     Filed 08/25/17     Pg 9 of 13     Pg ID 9



consumer report regarding an applicant, took adverse action against that applicant based in whole

or in part upon said consumer report, and:

               a.     Failed to provide a written statement of reasons for Defendant’s decision
                      to deny credit to the applicant and failed to provide notice of Plaintiff’s
                      right to a statement of reasons for the credit denial and the identity of the
                      person or office from which such statement may be obtained; and
               b.     Failed to provide written notification of the applicant’s numerical credit
                      score, the name, address and telephone number of the credit reporting
                      agency from which the Defendant obtained a consumer report regarding
                      the applicant and notice of the applicant’s right to obtain a free copy of
                      their consumer report and their right to dispute the accuracy and
                      completeness of the information being reported.

       39.     The class is so numerous that joinder of all members is impractical.           Upon

information and belief, Defendant has used consumer reports to deny a consumer’s application

for credit in hundreds, possibly thousands of cases, without providing the requisite notifications

pursuant to both the ECOA and FCRA.

       40.     There are questions of law and fact common the Class that predominate over any

questions affecting only individual Class members. The principal questions at issue are whether

Defendant violated the ECOA and FCRA by failing to provide the requisite notices as mandated

by both statutes.

       41.     Plaintiff’s claim is typical of the claims for the Class, which arise from the same

operative facts and are predicated on the same legal theories.

       42.     There are no individual questions of fact, other than whether a Class member’s

application for credit with Defendant was denied and Defendant failed to provide the requisite

notice under the ECOA and FCRA.

       43.     Plaintiff will fairly and adequately protect the interests of the Class. Plaintiff is

committed to vigorously prosecuting this matter and has retained counsel experience in handling




                                                 9
      2:17-cv-12818-VAR-APP            Doc # 1     Filed 08/25/17     Pg 10 of 13     Pg ID 10



class actions and claims involving unlawful business practices. Neither Plaintiff nor counsel for

Plaintiff have any interests that might cause them to not vigorously pursue this claim.

       44.        This action should be maintained as a class action as the prosecution of separate

actions by individual members of the Class would create a risk of inconsistent or varying

adjudications with respect to individual Class members.             Such a result would establish

incompatible standards of conduct for the parties opposing the Class.               Furthermore, the

prosecution of separate actions could result in adjudications of individual members’ claims that

could be dispositive of the interests of other members not parties to the adjudications or could

substantially impair and/or impede the ability of such individuals to protect their interests.

       45.        This action should be maintained as a class action because the Defendant has

acted or refused to act on grounds that apply generally to the Class, so that final injunctive relief

or corresponding declaratory relief is appropriate respecting the Class as a whole.

       46.        A class action is a superior method for the fair and efficient adjudication of this

controversy.      Management of the Class claims is likely to present significantly fewer difficulties

than those presented in many class claims. The identities of individual Class members may be

easily obtained from Defendant’s records.

       47.        As a result of Defendant’s violations as aforesaid, Plaintiff has suffered, and

continues to suffer, personal humiliation, embarrassment, mental anguish and emotional distress.

       48.        As a result of the above violations of the ECOA, Defendant is liable to Plaintiff

for actual damages and liable to Plaintiff and Class members for statutory damages, attorneys’

fees and costs.




                                                   10
      2:17-cv-12818-VAR-APP            Doc # 1     Filed 08/25/17     Pg 11 of 13     Pg ID 11



       49.        As a result of the above violations of the FCRA, Defendant is liable to Plaintiff

for actual damages and liable to Plaintiff and Class members for statutory damages, attorneys’

fees and costs.

                              VI.     PLAINTIFF’S ALLEGATIONS

                            COUNT I: VIOLATIONS OF THE ECOA

       50.        Plaintiff re-alleges and incorporates by reference each of the preceding paragraphs

in this Complaint as though fully set forth herein.

       51.        As a result of Defendant’s failure to notify Plaintiff of the specific reason(s) for

having taken adverse action against her, Plaintiff is unable to fully address any potential issues

with her credit history.

       52.        As a result of Defendant’s violations as aforesaid, Plaintiff has suffered, and

continues to suffer, personal humiliation, embarrassment, mental anguish and emotional distress.

       53.        As a result of the above violations of the ECOA, Defendant is liable to Plaintiff

for actual damages and liable to Plaintiff and Class members for statutory damages, attorneys’

fees and costs.

                            COUNT II: VIOLATIONS OF THE FCRA

       54.        Plaintiff re-alleges and incorporates by reference each of the preceding paragraphs

in this Complaint as though fully set forth herein.

       55.        As a result of Defendant’s failure to notify Plaintiff of her rights under the FCRA,

Plaintiff was not: (i) given a numerical credit score; (ii) The name, address, and telephone

number of the consumer reporting agency (including a toll-free telephone number established by

the agency if the agency compiles and maintains files on consumers on a nationwide basis) that

furnished the report to Defendant; (iii) A statement that the consumer reporting agency did not




                                                   11
      2:17-cv-12818-VAR-APP           Doc # 1     Filed 08/25/17    Pg 12 of 13    Pg ID 12



make the decision to take the adverse action and is unable to provide the consumer the specific

reasons why the adverse action was taken; (iv) Notice of her right to obtain, under §1681j of the

FCRA, a free copy of her consumer report from the consumer reporting agency from which

Defendant obtained Plaintiff’s consumer report; or, (v) Notice of her right to dispute, under

§1681i of the FCRA, the accuracy or completeness of any information in a consumer report

furnished by the consumer reporting agency to Defendant.

       56.        As a result of Defendant’s violations as aforesaid, Plaintiff has suffered, and

continues to suffer, personal humiliation, embarrassment, mental anguish and emotional distress.

       57.        As a result of the above violations of the FCRA, Defendant is liable to Plaintiff

for actual damages and liable to Plaintiff and Class members for statutory damages, attorneys’

fees and costs.

                                  VIII. PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, RHONDA LEGGETT-MELTON, by and through her

attorneys, respectfully prays for Judgment to be entered in favor of Plaintiff and against

Defendant as follows:

                  a.     Determining that this action is maintainable as a class action under Rule
                         23 of the Federal Rules of Civil Procedure;

                  b.     Awarding the Class $500,000 or one percent of Defendant’s net worth in
                         punitive damages under ECOA;

                  c.     Awarding Plaintiff $10,000 in punitive damages, and/or her actual
                         damages under ECOA

                  d.     Enjoining Defendant, it agents, employees and assigns from further
                         violations of the ECOA and specifically ordering Defendant to provide
                         Plaintiff and class members a compliant ECOA adverse action notice;

                  e.     Statutory damages under the FCRA;

                  f.     Actual damages under the FCRA



                                                 12
 2:17-cv-12818-VAR-APP          Doc # 1     Filed 08/25/17      Pg 13 of 13    Pg ID 13




          g.     Punitive damages under the FCRA;

          h.     Awarding Plaintiff reasonable attorneys’ fees and costs of this action;

          i.     Awarding Plaintiff and the Class such other and further relief as is just and
                 proper.


                                 VII.    JURY DEMAND

   61.    Plaintiff hereby demands a trial by jury on all issues so triable.

                                                         Respectfully submitted,
                                                         RHONDA LEGGETT-MELTON

                                                  By:     s/ David M. Marco
                                                          Attorney for Plaintiff

Dated: August 25, 2017

David M. Marco
IL Bar No. 6273315/FL Bar No. 125266
SMITHMARCO, P.C.
55 W. Monroe Street, Suite 1200
Chicago, IL 60603
Telephone:    (312) 546-6539
Facsimile:    (888) 418-1277
E-Mail:       dmarco@smithmarco.com




                                            13
